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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF SOUTH CAROLINA
                           GREENVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                       Plaintiff,                 )
                                                  )
        v.                                        )     Civil No. 6:08-cv-03760-GRA
                                                  )
JOHN HOWARD ALEXANDER, a/k/a                      )
HOWARD IRA SMALL, INDIVIDUALLY                    )
and AS TRUSTEE OF THE ALEXANDER                   )
FAMILY TRUST                                      )
                                                  )
                       Defendant.                 )

             UNITED STATES’ MOTION FOR SUMMARY JUDGMENT

        Pursuant to Fed. R. Civ. P. 56, the United States moves for summary judgment

against the defendant John Howard Alexander. Specifically, the United States moves the

Court to grant summary judgment in its favor:

        1) To reduce to judgment the United States’ assessments against the defendant,

John Howard Alexander for civil penalties under 26 U.S.C. § 6700;

        2) To reduce to judgment the United States’ assessments against the defendant,

John Howard Alexander his unpaid income taxes;

        3) To determine that pursuant to South Carolina and federal law, Alexander has a

property interest in the subject real property;

        4) To determine that the Alexander Family Trust’s nominal ownership of that real

property should be disregarded because it is Alexander’s nominee, and;

        5) To order foreclosing the federal tax liens encumbering Alexander’s property

interests.




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       In support of its motion, the United States attaches and incorporates by reference

a memorandum of law, the declaration of Phyllis Bingham with exhibits, and the

declaration of James Strong with exhibits.

       Dated: September 25, 2009.


                                              Respectfully submitted,

                                              W. WALTER WILKINS III
                                              United States Attorney




                                              ________________________
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                             CERTIFICATE OF SERVICE

           IT IS HEREBY CERTIFIED that the foregoing UNITED STATES’ MOTION

FOR SUMMARY JUDGMENT was filed with the Clerk of the Court electronically

today, September 25, 2009, such that a service copy was sent by way of the electronic

filing system to the plaintiff and all counsel who have arranged for electronic service of

filings.




                                                _______________________
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